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                            United States District Court
                                      for the
                            Southern District of Florida

   Robert Tom, Plaintiff,                )
                                         )
   v.                                    )
                                         ) Civil Action No. 20-22726-Civ-Scola
   Charlotte Burrows, Chair of the       )
   Equal Employment Opportunity          )
   Commission, Defendant.                )


                                 Order of Dismissal
        The parties have dismissed this case with prejudice in accordance with
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. for Dismissal with
  Prejudice, ECF No. 57.) The Court reserves jurisdiction to enforce the parties’
  settlement agreement. The Court directs the Clerk to close this case. All
  pending motions, if any, are denied as moot.
        Done and ordered in Miami, Florida, on March 1, 2022.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
